
62 So.3d 1161 (2011)
Genaro FERRO, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D09-3472.
District Court of Appeal of Florida, Third District.
June 1, 2011.
*1162 Carlos J. Martinez, Public Defender, and Robert Kalter, Assistant Public Defender, for appellant.
Pamela Jo Bondi, Attorney General, and Nikole Hiciano, Assistant Attorney General, for appellee.
Before SUAREZ, ROTHENBERG, and EMAS, JJ.
PER CURIAM.
Genaro Ferro appeals from a final judgment of conviction and sentence. The record shows no reversible error. We affirm without prejudice to appellant's right to seek post-conviction relief under Florida Rule of Criminal Procedure 3.850.
Affirmed.
